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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

BYRON K. DANIELS                                                                    PLAINTIFF

v.                                Case No. 4:16-cv-00291 KGB

MCCORMACK BARON SALZAAR, et al.                                                 DEFENDANTS

                                         JUDGMENT

       Pursuant to the Order entered on this date, it is considered, ordered, and adjudged that

plaintiff Byron K. Daniels’ operative complaint is dismissed. The Court dismisses without

prejudice Mr. Daniels’ claims against separate defendants Baron Salazar, Inc., d/b/a The Oaks

Apartment (“McCormack”), and Catricia Marks. The Court dismisses with prejudice Mr. Daniels’

claims pursuant to Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e, and

the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. § 623(d), against separate

defendants Pauline Olden and Mary Long in their individual capacities. The Court dismisses

without prejudice Mr. Daniels’ remaining claims against Ms. Olden and Ms. Long. The relief

sought is denied.

       So adjudged this 5th day of June, 2018.

                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
